         Case 1:21-cv-00149-JRH-BKE Document 29 Filed 07/14/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

 VALENCIA COLON,

       Plaintiff,

 vs.
                                                          CASE NO.: 1:21-cv-149
 RICHARD ROUNDTREE, HARDIE
 DAVIS, WILLIAM FENNOY, DENNIS
 WILLIAMS, MARY DAVIS, SAMMIE
 SIAS, BOBBY WILLIAMS, BEN HASAN,
 SEAN FRANTOM, BRANDON GARRETT,
 MARION WILLIAMS, JOHN CLARKE,
 ODIE DONALD II, MAURICE
 MCDOWELL, CHARLIE T. WALKER,
 JOHN DOES 1-5, and ABC CORP 1-5,

       Defendants.


           DEFENDANTS’ NOTICE OF INTENT TO FILE A REPLY BRIEF
         COME NOW Defendants pursuant to Local Rule 7.6 and provide notice of their

intent to file a Reply Brief in response to Plaintiff’s Response to Defendants’ Motion for

Partial Summary Judgment (Doc. 28).

         Respectfully submitted this 14th day of July, 2022.




                                                  /s/Tameka Haynes______
                                                  Randolph Frails
                                                  Georgia Bar No. 272729
                                                  Tameka Haynes
                                                  Georgia Bar No. 453026

                                                  Attorneys for Defendants




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 VALENCIA COLON,

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                                                        CASE NO.: 1:21-cv-149
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 JOHN DOES 1-5, and ABC CORP 1-5,

       Defendants.


                               CERTIFICATE OF SERVICE

      This is to certify that I have this date served a copy of the foregoing Notice in
accordance with ECF rules by electronically filing a copy with the Clerk of Court using the
CM/ECF system, via email, or via the United States Mail with adequate postage attached
thereon to:

                                    J. Wickliffe Cauthorn
                                     The Cauthorn Firm
                                     201 Cherokee Street
                                  Marietta, Georgia 30060
                                 wick@thecauthornfirm.com

         This 14th day of July, 2022.

                                                 /s/Tameka Haynes______
                                                 Randolph Frails
                                                 Georgia Bar No. 272729
                                                 Tameka Haynes
                                                 Georgia Bar No. 453026

                                                 Attorneys for Defendants



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